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                      Attachment A




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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

 UNITED STATES OF AMERICA
                                                     UNDER SEAL
      v.
                                                     No. 1:23-mj-67
 CONOR BRIAN FITZPATRICK,

      a/k/a “Pompompurin”

      Defendant.

                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, John Longmire, being first duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

       1.       CONOR BRIAN FITZPATRICK (“FITZPATRICK”) is a 20-year-old citizen of

the United States, who resides in Peekskill, New York.

       2.       From at least in or around March 2022 through the present, FITZPATRICK has

facilitated the unauthorized purchasing and selling of stolen identification documents,

unauthorized access devices, unauthorized access to victim computer systems, and login

credentials through his operation of a data breach website named “BreachForums.”

FITZPATRICK’s victims have included millions of United States citizens, as well as a U.S.

company providing electronic healthcare services (“Victim-1”), a U.S. company providing internet

hosting and security services (“Victim-2”), and a U.S.-based investment company (“Victim-3”),

among others.

       3.       As detailed below, I am submitting this affidavit in support of a criminal complaint

and arrest warrant charging FITZPATRICK with conspiracy to commit and aid and abet

solicitation for the purpose of offering unauthorized access devices, in violation of 18 U.S.C. §§

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1029(a)(6) and 2, all in violation of 18 U.S.C. § 1029(b)(2), in connection with his operation of

BreachForums and his middleman service on BreachForums.

          4.   The evidence below establishes that FITZPATRICK is the user of the moniker

“pompompurin” and the main administrator of BreachForums.

                                   AGENT BACKGROUND

          5.   I have been a Special Agent with the Federal Bureau of Investigation (“FBI”) for

over 16 years. I am currently assigned to the FBI’s Washington Field Office Cyber Task Force,

where I am responsible for conducting and assisting in investigations into the activities of

individuals and criminal groups responsible for cyber-crimes, including, cyber intrusions, online

money laundering, criminal cryptocurrency usage, and criminal online forums.

          6.   During my career, I have used a number of investigative techniques, including: (a)

conducted, monitored, and reviewed physical and wire surveillance, including Title III wiretap

investigations; (b) executed search warrants at locations where records of criminal activity have

been found, including on electronic devices; (c) reviewed and analyzed numerous recorded

conversations and other documentation of criminal activity; (d) debriefed cooperating defendants

and confidential human sources; (e) monitored wiretapped conversations; (f) conducted

surveillance of individuals engaged in various crimes; and (g) led and participated in search

warrants and arrest warrants for various crimes.

          7.   The facts in this affidavit come from my personal observations, my training and

experience, my review of physical and documentary evidence, and information obtained from

other agents and witnesses. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my knowledge about this

matter.



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                                       PROBABLE CAUSE

       A.      Background on Investigation

       8.      Since in or around March 2022, the FBI, the U.S. Secret Service (“USSS”), and the

U.S. Department of Health & Human Services, Office of Inspector General (“HHS-OIG”),

collectively, the “U.S. authorities,” have investigated an administrator and certain members of a

data breach website named “BreachForums” that operates as a popular marketplace for

cybercriminals to buy, sell, and trade hacked or stolen data and other contraband, including stolen

access devices, means of identification, hacking tools, breached databases, and other services for

gaining unauthorized access to victim systems. Among other things, BreachForums enables its

members to post solicitations concerning the sale of hacked or stolen data, exchange direct private

messages with prospective buyers and sellers, buy access to certain hacked or stolen data that the

platform itself controls and distributes, and arrange other services related to the illicit transfer of

stolen data and contraband.

       B.      Background on RaidForums

       9.      In a separate investigation, the FBI and USSS investigated administrators and users

of a website named “RaidForums” for committing and aiding and abetting, inter alia, violations

of 18 U.S.C. §§ 1028A and 1029 from at least as early as in or around June 2016. According to

evidence obtained during the investigation, while active, RaidForums was a popular marketplace

for cybercriminals to buy, sell, and trade contraband, including stolen access devices, means of

identification, hacking tools, breached databases, and other illegal services.

       10.     On or about May 6, 2021, a federal grand jury in the Eastern District of Virginia

returned a six-count indictment charging Diogo Santos Coelho, RaidForums’ alleged founder and

chief administrator, with one count of access device conspiracy, in violation of 18 U.S.C.



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§ 1029(b)(2), four counts of access device fraud and aiding and abetting the same, in violation of

18 U.S.C. §§ 1029(a) and 2, and one count of aggravated identity theft, in violation of 18 U.S.C.

§ 1028A(1).

       11.     On or about January 31, 2022, United Kingdom authorities arrested Coelho

pursuant to a request from the United States. A grand jury in the Eastern District of Virginia then

returned a six-count second superseding indictment on or around March 15, 2022, that, among

others, amended the access device conspiracy count to plead the enhanced sentencing provision of

18 U.S.C. § 3559(g)(1). Coelho remains in the United Kingdom pending the resolution of the

United States’ request for his extradition.

       12.     In or around February 2022, the FBI, USSS, and international law enforcement

partners took additional steps to prevent RaidForums from operating as a marketplace for illicit

material. For instance, on or about February 18, 2022, the Honorable Theresa Carroll Buchanan,

Magistrate Judge, issued search warrants (Nos. 1:22-sw-105-107) authorizing the FBI to seize

domains that RaidForums used to host the RaidForums website. Authorities in a European country

also seized the back-end servers for the RaidForums website in late February 2022.

       C.      BreachForums Replaces RaidForums

       13.     After RaidForums’ disruption, the FBI observed that a new website accessible at

the domain breached.co named “Breached” had been launched in or around March 2022. The

website closely resembled RaidForums and appeared to also support the buying and selling of

hacked or stolen data. Notably, on or around March 21, 2022, I observed a thread with the subject

“Welcome” in which a former RaidForums member with the online moniker “pompompurin”

introduced BreachForums as a replacement for RaidForums. The “pompompurin” account is

displayed as an “Administrator” account on BreachForums.



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       14.     On or about March 16, 2022, on the website dataknight.org, an individual using the

moniker “Lander” posted an apparent interview with pompompurin under the title “Exclusive

Interview with ‘Pompompurin’ about ‘Breached’” at https://dataknight[.]org/exclusive-

interviewwith-pompompurin/. In this interview, pompompurin reportedly claimed to have created

a new website known as “BreachedForums” to fill the void created by the disruption of

RaidForums:

       Conversation:
       Alex – Pseudonym of Lander
       Pom – Shortened version of their moniker

       [. . . ]
       Alex: So to get right into it, What made you want to start BreachForums? Does the
                closing of RaidForums have anything to do with it

       Pom: The only reason it’s been created was because RaidForums closed, I wouldn’t
               have made it otherwise. The community needs someplace to congregate on and
               there are no forums similar to what RaidForums offered currently
       [. . .]
       Alex: I can see that you’ve put a lot of work into this… but don’t you think that there’s
               a reason that the FBI took down RaidForums? Why would you want to bring it
               back up knowing that you may face that same fate whatever it [may be]

       Pom: [Redacted], it doesn’t really bother me. If I get arrested one day it also wouldn’t
               surprise me, but as I said I have a trusted person who will have full access to
               everything needed to relaunch it without me. This person will also never be made
               known to the public, so it wouldn’t be possible for the police to also target them
               in the event that they want to get the forum taken down for good.
       [. . .]

       15.     Since its inception, the FBI’s review of the BreachForums website indicates that,

as with RaidForums, it operates a “Marketplace” section that is dedicated to the buying and selling

of hacked or stolen data, tools for committing cybercrime, and other illicit material, including a

“Leaks Market” subsection. Some of the items that are commonly sold on BreachForums include

bank account information, social security numbers and other PII, and account login information


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for compromised online accounts, such as usernames and passwords to access accounts with

service providers and merchants.        Based on my training and experience, sellers in these

marketplaces are typically malicious cyber actors and/or their co-conspirators seeking to monetize

data that they obtained through unlawful network intrusions. Buyers in these marketplaces are

typically criminal actors who purchase confidential business, financial, or personal data to further

other fraud schemes.

       16.     The BreachForums website has also supported additional sections in which users

post stolen or hacked personal identifying information (PII) and discuss tools and techniques for

hacking and exploiting hacked or stolen information, including in the “Cracking,” “Leaks,” and

“Tutorials” sections. The BreachForums website also includes a “Staff” section that appears to

be operated by the BreachForums administrators and moderators.

       17.     The BreachForums website does post a “Rules and Policies” section that

proscribes the posting or selling of certain classes of material, including a rule stating that the

“Selling or Posting Credit/Debit cards is not allowed, and will result in you being banned

instantly.” However, the FBI’s investigation indicates that this rule is often not enforced. For

instant, the FBI’s review of BreachForums posts reveal numerous posts advertising the

availability of payment card information, including several in the “Official” databases section, as

further described below. Further, on or about June 22, 2022, “pompompurin” posted a database

of compromised Mastercard information:




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           D.       BreachForums “Official” Database Forum 1

           18.      The “Databases” section of BreachForums includes a section titled “Official,”

which is described as a “Forum where databases stored on our own servers are kept. These threads

are guaranteed to be online, and will not have any dead links.” Official databases are available for

purchase through a “credits” system administered by BreachForums. Credits are available for

purchase on the site, or earned through contributing content.

           19.      On or about September 4, 2022, pompompurin made a post in the “Official” section

detailing the process to have data posted to the site’s official content distribution network

(“CDN”):




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    RaidForums had a similar setup and also offered “credits” for purchase.

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        20.     In this post, pompompurin states that users seeking to post databases to the official

BreachForums CDN must contact him directly, and that he will personally load the database to the

CDN.

        21.     As of January 11, 2023, the Official section purported to contain 879 datasets,

consisting of over 14 billion individual records. These databases include a wide variety of both

U.S. and foreign companies, organizations, and government agencies. Based on a review of

publicly available posts, pompompurin has personally confirmed when leaked databases are added

to the Official section in at least 106 instances.

        E.      Pompompurin Adds Victim-2’s Database to BreachForums CDN

        22.     In or around April 2022, a database from a U.S.-based internet hosting and security

services company (“Victim-2”) containing names, addresses, phone numbers, usernames,

password hashes, and email addresses for approximately 8,000 customers, as well as payment card

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information for approximately 1,900 customers, was posted to BreachForums. On or about May

10, 2022, the post’s creator, using the moniker “agent,” posted that the database had been moved

to the CDN, after he/she had requested pompompurin to approve it on or about April 30, 2022.

On or about September 24, 2022, pompompurin edited the post, stating “Official information

edited,” indicating that pompompurin had modified the link to the compromised database on the

BreachForums CDN. Victim-2 has confirmed the breach and provided information to the U.S.

authorities.

         23.     On or about October 27, 2022, a FBI online covert employee (“OCE”) located in

the Eastern District of Virginia purchased and downloaded this database for 8 credits. Any

registered BreachForums user can purchase credits through the BreachForums website. As of

October 20, 2022, credits cost approximately $0.25 each, and are available in bundles of 30, 60,

120, 240, and 500. Various forms of cryptocurrency are accepted as payment.

         24.     Upon review, the downloaded archive contained a text                              file named

“Breached_Info.txt,” with the following message:

         This file has been downloaded from BreachForums. Please check us out.
         Our database list is provided here: https://breached.co/databases
         > Please do the right thing, if you share this database please mention where it was
         downloaded from!
         At the end of the day with your help the more users we get the more high quality/private
         databases will be leaked.

         25.     The downloaded archive also contained 11 text files, most of which are structured

query language (“SQL”) database 2 exports that include customer names, addresses, phone

numbers, usernames, password hashes, email addresses, and credit card information to include

card number, expiration date, and card verification value (“cvv”), as described in the


2
  In my training and experience, a SQL database is a type of relationship database that uses structured query
language for creating, modifying, and retrieving data from database tables. SQL databases are often used by forums
to preserve and store information concerning activity on the forum.

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BreachForums post. Review of the database by the U.S. authorities confirmed that this is the same

data that Victim-2 confirmed was exfiltrated from its network.

       26.     Based on my training and experience, Victim 2’s data downloaded from the

BreachForums CDN constitutes “access devices,” as defined under 18 U.S.C. § 1029(e)(1),

because they are a means of account access that either could have been “used to obtain money,

goods, services, or any other thing of value,” or could “be used to initiate a transfer of funds.” In

particular, the card numbers, expiration dates, and cvvs could be used to obtain money, goods,

services, and/or other things of value, or could be used to initiate a transfer of funds.

       F.      Pompompurin Adds Victim-3’s Database to BreachForums CDN

       27.     Another database, purportedly obtained from a compromise of a U.S.-based

investment company (“Victim-3”) and containing at least 5 million customer email addresses, is

also available to download from BreachForums for 8 credits. More specifically, on or about

September 21, 2022, pompompurin moved this database to the BreachForums CDN, which, as

stated above, means that it is available for download.

       28.     On October 17, 2022, a FBI OCE located in the Eastern District of Virginia

purchased and downloaded this database. The downloaded archive contained an identical

Breached_Info.txt file, along with a text file containing approximately 7,732,243 lines of comma-

delimited text. The file contains headers including Account Owner, Account Name, Type, Last

Activity, Last Modified Date, and Billing State/Province. A separate FBI investigation has

verified that this data originated from a computer network compromise of Victim-3.

       29.     A representative for Victim-3 informed the FBI that Victim-3 customers use these

identifiers when contacting Victim 3 for customer support; therefore, the compromised database

can be used to execute social engineering attacks against Victim-3’s customer base. In such an



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attack, a malicious actor would contact Victim-3’s customer support and use information from the

database to impersonate a legitimate customer. After a successful impersonation attempt, the actor

could then change the legitimate customer’s password and thus gain access to the account. With

this access, the malicious actor could transfer money from the compromised account to a bank

account or debit card controlled by the actor. Based on my training and experience, I know this to

be a relatively common way for fraudsters to compromise financial accounts. For these reasons,

Victim 3’s data downloaded from BreachForums CDN constitutes an unauthorized access device.

       G.      Pompompurin’s “Middleman” Service

       30.     In addition, to facilitating transactions on the forum, BreachForums’ founder

pompompurin offered to act as a trusted middleman, or escrow service, between individuals on the

website who sought to buy and sell information. For instance, on or about August 9, 2022, a FBI

OCE reviewed a post initially made by pompompurin on BreachForums on or around July 24,

2022, and last modified on or around November 6, 2022, in which pompompurin officially

announced his middleman service and explained that he would accept cryptocurrency from the

purchaser and files from the seller. In the post, which is partially reflected in the below image,

pompompurin stated that he has already performed over $430,000 in middleman transactions with

zero issues.




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       31.     Here, pompompurin is offering a middleman service where he enables the purchase

and sale of stolen data. Pompompurin is aware of what “product” is being purchased and sold

when he agrees to act as the middleman. Further, although pompompurin claims to not typically

receive the files or the payment, the FBI has observed public posts in which pompompurin claims

to have verified the data.

       H.      Pompompurin’s Middleman Service is Used to Purchase PII, including Bank
               Account Numbers Belonging to Americans

       32.     On or about July 1, 2022, an OCE located in the Eastern District of Virginia

reviewed the BreachForums website and observed the below depicted post made by “expo2020”

on or about June 28, 2022, which offered to sell “SSN.DOB.ADDRESS.PHONE etc. USA.”




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       33.    On or about July 2, 2022, the OCE contacted expo2020 through private messages

on BreachForums and the messaging application Telegram and arranged to pay approximately

$500 to buy the PII and bank account information of approximately one million U.S. persons. The

FBI’s examination of the data sold by expo2020 revealed that it appeared to contain the PII of

large numbers of U.S. persons, including their full name, e-mail address, phone number, physical

address, date of birth, social security number, driver's license number, bank name, bank routing

number, and bank account number.

       34.    Later, on or about July 2, 2022, the OCE contacted pompompurin through private

messages on BreachForums and Telegram to inquire about using pompompurin’s middleman

service to conduct a second transaction with expo2020 in which the OCE paid approximately

$5,000 to purchase the PII and bank account information of approximately 15 million U.S. persons.

Pompompurin agreed to act as an escrow for the funds transfer to ensure the data purchased was

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received and, on or about July 6, 2022, the OCE, pompompurin and expo2020 engaged in a

Telegram group chat to complete the transaction. In this chat, the OCE stated to pompompurin

that the data to be purchased should include date of birth, social security number, and bank

information, stating that the information was to be used for conducting financial scams. Upon

receipt of the files, the OCE confirmed to pompompurin that the data contained these elements,

and pompompurin released funding to expo2020.

       35.     Thus far, federal law enforcement has identified 99 records that list the bank

account and routing numbers for a credit union based in Virginia. Law enforcement then provided

this information to the credit union for validation. The credit union examined these records and

confirmed that the records contained 67 valid customer identifiers, including name and social

security number, as well as valid account information.

       36.     Based on my training and experience, the data provided by expo2020 constitutes

“access devices,” as defined under 18 U.S.C. § 1029(e)(1), because they are a means of account

access that either could have been “used to obtain money, goods, services, or any other thing of

value,” or could “be used to initiate a transfer of funds.” In particular, the bank information could

be used to obtain money, goods, services, and/or other things of value, or could be used to initiate

a transfer of funds.

       I.      Pompompurin’s Middleman Service is Used to Transfer Victim-1 Customer
               Identification Documents, including Credit Card numbers

       37.     As explained below, the FBI’s investigation indicates that through his role as a

“middleman,” pompompurin aided and abetted the transfer of identification documents belonging

to Victim-1’s customers. Further, pompompurin was aware that these documents were stolen.

       38.     Victim-1 is a U.S.-based company providing software to manage electronic

healthcare records, medical billing records, appointment scheduling, and medical practice

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management. On or about August 17, 2022, an OCE located in the Eastern District of Virginia

reviewed the BreachForums website and observed a post depicted below that was made by

“jigsaw” on or about August 10, 2022. In this post, jigsaw attempted to sell “Access to a US

healthcare company accounting system (contains US citizens documents).” This information

purportedly included credit card numbers, emails, full names, addresses, phone numbers, and other

information.




       39.     Later, on or about August 17, 2022, the OCE contacted jigsaw through private

messages on BreachForums and Telegram and arranged for the purchase of the access to the U.S.

healthcare company’s system, as well as a list of additional credentials that jigsaw had stolen from

Victim-1 for $3,000.

       40.     On or around August 18, 2022, the OCE and jigsaw arranged to have pompompurin

act as a middleman for the transaction. In a private message on BreachForums, pompompurin

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contacted       the       OCE         and       requested        payment        via       Bitcoin:




        41.    In response, the OCE asked, “just wondering if theres [sic] a way to make sure this

access actually has the IDs, card #s, and records that the description says before the money is

released. The access is not very helpful for me if theres [sic] no data I can use,” to which

pompompurin replied, “The money wont [sic] be released until you confirm you got what you paid

for.”

        42.    In a follow-up conversation via Telegram, pompompurin assured the OCE that the

funds would not be transferred to jigsaw until the OCE had confirmed his or her access to the U.S.

healthcare company’s accounting system:

        OCE: hey, just replied to your pm on breached. just curious about how mm works for
        buying network access…like do i get to confirm that the access actually has the credit
        card #s and id photographs before the btc gets released to seller? access isnt worth much

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       to me without the data to make my money back lol…its this one with jigsaw
       https://breached.to/Thread-Selling-Access-to-a-US-healthcare-company-accounting-
       system-contains-US-citizens-documents

       Pom: Once you confirm you got access and got what was advertised the funds will be
       released…If any issues arise then it’ll be figured out from there

       43.     After the OCE confirmed that the funds were sent to pompompurin, jigsaw

provided a link to download files that included a means to gain apparent access to the U.S.

Healthcare Company’s account system. Jigsaw also provided a file (samples.7z) containing

driver’s license photos, insurance cards, and credit card on file paperwork for approximately 13

individuals, that were purportedly obtained from the victim network (credit card on file paperwork

includes the patient’s name, address, email address, telephone number, signature, and the last four

digits of the payment card on file). The FBI has confirmed that ten Arizona driver’s licenses

depicted in this file were photographs of legitimate identification devices.

       44.     Jigsaw also provided the OCE with a text file containing usernames and passwords

for two accounts on the network of Victim-1. These credentials were valid for accessing patient

data and insurance profiles, as well as billing information and refund management. This access

could be used by malicious actors in furtherance of identity theft and/or fraudulent insurance

billing schemes, in addition to revealing sensitive healthcare information about U.S. citizens and

interfering with healthcare services.

       45.     The U.S. authorities have confirmed with Victim-1 that both the identification

documents and network access credentials are authentic data from Victim-1’s network. Victim-1

has confirmed to the U.S. authorities that the credentials provided by jigsaw were valid and could

be used to access documents and records for a U.S.-based healthcare provider, which are stored by

Victim-1, including the information from the samples.7z file.




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       46.    Based on my training and experience, the credentials provided by jigsaw constitute

“access devices,” as defined under 18 U.S.C. § 1029(e)(1), because they are a means of account

access that either could have been “used to obtain money, goods, services, or any other thing of

value.” In particular, Victim-1 informed me that with the access provided by jigsaw, a malicious

actor could change account information so that reimbursement payments could be sent to an

account or address controlled by the actor, rather than the medical practice that provided care.

Additionally, the personally identifiable information contained in patient records maintained by

Victim-1 can be and is sold on internet sites such as BreachForums.

                              Recent Activity on BreachForums

       47.    On or about December 18, 2022, a BreachForums user with the moniker “USDoD”

posted details of approximately 87,760 members of InfraGard, a partnership between the FBI and

private sector companies focused on the protection of critical infrastructure. The FBI has

determined that the information was obtained without authorization using a social engineering

attack. Additionally, on or about January 4, 2023, information obtained from a major U.S.-based

social networking site was posted by a user with the moniker “StayMad.” This information

included names and contact information for approximately 200 million users.

                    Attribution of Conor Fitzpatrick as “pompompurin”

       48.    As detailed below, the information available to law enforcement indicates that

Conor Brian Fitzpatrick controlled and used the above-described accounts that incorporated

variations on the online moniker pompompurin, including the “pompompurin” accounts on

Raidforums and BreachForums. FITZPATRICK currently lives at a residence located on Union

Avenue in Peekskill, New York (“the UNION PREMISES”).




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       49.     As mentioned above, in or around February 2022, law enforcement seized

RaidForums and the website was taken offline. As part of the investigation, pursuant to mutual

legal assistance requests, the FBI obtained images of servers controlled by RaidForums that,

among other things, contained a SQL database of forum activity. TheRaidForums database

included communications between the RaidForums administrator, using the moniker

“omnipotent,” and pompompurin, as well as pompompurin’s RaidForums logins and subscriber

information.

       50.     In reviewing the RaidForums logs, the FBI determined that the pompompurin user

account was accessed from the following IP addresses that resolve to Verizon Communications:

               2600:1017:b017:810f:5899:2deb:d428:647e at 4/24/21 7:10:35 PM UTC
               2600:1017:b01e:d0b9:a9ee:1962:532a:8189 at 3/13/21 6:34:21 PM UTC
               2600:1017:b801:325f:a0e9:c125:d43:c55c at 5/10/21 1:58:21 PM UTC
               2600:1017:b803:ee00:905e:faa5:6358:3e1e at 1/28/21 2:52:03 PM UTC
               2600:1017:b805:a362:1cb4:629f:d864:c3fd at 3/13/21 5:45:03 PM UTC
               2600:1017:b807:6e9f:bc44:9732:6093:6eb8 at 5/7/21 1:12:57 PM UTC
               2600:1017:b809:4d0e:fdbb:731:688:60f1 at 5/14/21 2:02:45 PM UTC
               2600:1017:b809:d414:39d1:91e0:f47f:a2a3 at 6/3/21 1:50:07 PM UTC
               2600:1017:b80b:7b0d:2c23:576d:bf0e:d6a6 at 6/26/21 1:18:36 AM UTC
               2600:1017:b80f:176c:2511:9868:a34e:a887 at 4/19/21 2:43:25 PM UTC
               2600:1017:b80f:b59a:e04c:5f44:856f:7b3a at 4/26/21 4:56:13 PM UTC
               2600:1017:b813:4109:d432:5151:87f1:3ae at 6/8/21 2:02:27 PM UTC
               2600:1017:b816:7439:1dbb:f4d5:3999:fde2 at 6/18/21 2:04:44 PM UTC
               2600:1017:b816:7439:1dbb:f4d5:3999:fde2 at 6/18/21 2:04:45 PM UTC
               2600:1017:b816:8011:a9a7:6b38:bb16:7f3 at 3/22/21 2:01:50 PM UTC
               2600:1017:b818:e5a5:5cce:8ac0:d1a7:fe62 at 3/23/21 1:59:09 PM UTC
               2600:1017:b81a:6abb:d82c:36ce:49a1:f775 at 4/15/21 6:11:38 PM UTC
               2600:1017:b81c:8f96:ac00:8940:3a23:7d5e at 4/6/21 3:30:32 PM UTC
               2600:1017:b81d:9854:3170:73b3:11ac:fed4 at 3/9/21 4:07:06 PM UTC
               2600:1017:b81e:dfc9:2d11:bbe9:279d:9e67 at 5/27/21 3:37:08 PM UTC
               2600:1017:b81e:fc04:ed38:d4f3:6a74:a2f at 5/6/21 2:02:14 PM UTC
               2600:1017:b81e:fc04:ed38:d4f3:6a74:a2f at 5/6/21 2:02:14 PM UTC
               2600:1017:b823:291f:8b5:e404:b7ff:7b5e at 5/3/21 1:57:44 PM UTC
               2600:1017:b825:1a49:6841:4f98:2b5f:2dfe at 3/15/21 2:40:23 PM UTC
               2600:1017:b828:2b01:9517:406:35ea:916e at 5/7/21 1:52:00 PM UTC
               2600:1017:b829:a42e:a0aa:8d3d:95b6:c592 at 4/22/21 2:48:47 PM UTC
               2600:1017:b82d:b89c:59fc:f2f0:cc82:2dcd at 5/25/21 1:58:06 PM UTC

                                             19
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                    2600:1017:b82f:118e:d11a:a805:fc0e:d8cb at 5/27/21 2:07:23 PM UTC
                    2600:1017:b82f:118e:d11a:a805:fc0e:d8cb at 5/27/21 2:07:23 PM UTC
                    2600:1017:b8a1:e4b1:e954:7d46:d832:9c6b at 6/11/21 2:44:22 PM UTC
                    2600:1017:b8a3:ef0c:24fe:ec4:f550:2c25 at 7/24/21 3:54:13 PM UTC
                    2600:1017:b8a8:c1db:bd1e:ae7c:841e:aa8c at 1/27/21 3:45:47 PM UTC
                    2600:1017:b8a9:26bf:5d42:2704:807f:ba69 at 6/1/21 2:07:53 PM UTC
                    2600:1017:b8aa:6b75:4152:414b:4c2:5841 at 2/8/21 2:55:25 PM UTC
                    2600:1017:b8aa:ae19:cc03:388c:73da:89d8 at 7/9/21 10:37:26 PM UTC
                    2600:1017:b8aa:c86:ec22:d372:eab0:569b at 3/2/21 3:43:47 PM UTC

           51.      Records received from                 , in turn, revealed that at least nine of the above IP

addresses 3 used to access the pompompurin account on RaidForums were, at the time, associated

with the following mobile devices registered to “Conor Fitzpatrick” at the UNION PREMISES

with a cell phone number ending in                  (“the                   Telephone Number”).




           52.      The RaidForums records also contained the following communication between

pompompurin and omnipotent on or about November 28, 2020, in which pompompurin

specifically mentions to omnipotent that he had searched for the e-mail address

                                        and name “                        ” within a database of breached data

from “ai.type”:

           [Quoting “pompompurin”:]

           Hello, I'm sorry to bother you with this but I noticed recently that the ai.type databreach
           post doesn't seem to include every user (?) at least to my understanding. Looking up one
           of my old emails on HIBP, I come up as in it, but I cannot locate myself in the file
           provided at https://raidforums.com/Thread-ai-type-Database-Leaked-Download-
           Exclusive

           It seems that maybe it is only a partial amount of data from it? I was under the impression
           that it was the full amount of data from looking at the thread as I didn't see any mention
           of it only being “some” of the data from the breach.



3
    No data was available for the remaining 27 IP addresses due to data retention limitations at

                                                            20
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         Not messaging to ask for credits back or anything, because I wanted it anyways, I just
         wanted to let you know that it doesn't seem to be the full amount of data and that the
         thread doesn't seem to communicate that it isn't the full one.

         Thanks ;)

         [Quoting “Omnipotent”:]

         What email did you look up and how?

         [Quoting “pompompurin:]

         Apologies for late reply, here is another email that I found to be present on HIBP, but not
         inside of the file provided on the thread ( I don’t want to share my actual email for
         obvious reasons, but this email seems to have the same case as mine):

         https://a.pomf.cat/vvxevp.png (backup: https://archive.is/uYiTq )

         To search the file, I used the command “grep -i 'conorfitzpatrick' aitype.txt”
         To make sure the command is working correctly, I made a test.txt file including the email
         address I am trying to search in the same format as the data in the breach. Then, I ran the
         same exact command against the test file and it was able to find the email. (I also did a
         second search on the test.txt where I made some letters capital, to show I was doing a
         case insensitive search against the data)
         https://a.pomf.cat/dstqbv.png (backup: https://archive.vn/dOKnf )

         53.      As widely reported in the media, the company “ai.type” was the victim of a breach

of its database 4 in or around December 2017. In the above communication, pompompurin stated

he had looked “up one of [his] old emails on” the website “Have I Been Pwned” 5 (or “HIBP” for

short) to confirm his e-mail was part of the breach, but pompompurin could not find it in the ai.type

breach data he had purchased on RaidForums — suggesting that the RaidForums ai.type database


4
  “The emails, phone numbers, and locations of 31 million users of Android keyboard app Ai.type have been
compromised after the developer failed to secure the server on which the information was stored. Some 577
gigabytes of data is said to have been exposed, representing more than three quarters of the app’s total userbase.”
See “Ai.type keyboard app developer accidentally leaks personal data of 31 million users” by Scott Scrivens,
December 7, 2017 at Ai.type keyboard app developer accidentally leaks personal data of 31 million users
(androidpolice.com), last accessed on October 3, 2022.
5
 Per Have I Been Pwned at https://haveibeen pwned.com, the website Have I Been Pwned allows people to search
across multiple collected data breaches to see if their e-mail or phone number had been compromised. You can enter
your own e-mail address or phone number and the website will respond with which data breaches they have been
seen in.

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was incomplete. Pompompurin then suggested that maybe it was a “partial amount of data,” but

explained that he was under the impression that it was the full amount of data. Pompompurin then

says that he is not looking for a refund, but just wanted to communicate to omnipotent that the

ai.type stolen database that had been listed for sale on RaidForums was not the full database, and

that this should be better communicated (“Not messaging to ask for credits back or anything,

because I wanted it anyways, I just wanted to let you know that it doesn’t seem to be the full

amount of data and that the thread doesn’t seem to communicate that it isn’t the full one. Thanks

     ”).

           54.   Omnipotent responded to pompompurin with the question “What email did you

look up and how?”

           55.   In a reply, pompompurin then mentioned                                     ” as an

e-mail he had searched in “HIBP,” but was not able to locate in the stolen ai.type database. In this

conversation with omnipotent, pompompurin claimed that he did not want to share his “actual

email for obvious reasons,” but described the                                     as an e-mail that

“seems to have the same case” as his actual e-mail address. Further, pompompurin stated that he

had searched the name “conorfitzpatrick” in the RaidForums version of the ai.text database using

a “grep” command, and even had run this command against a test file he had created.

           56.   Although pompompurin’s above-described correspondence appears to suggest that

                                was not his “actual email address,” there are several reasons why

I      believe     that    pompompurin        (i)     searched      “conorfitzpatrick”     because

                                was indeed his old email address and contained his own name; and

(ii) purchased the ai.type database to see whether, among other things, his replacement email for

                                was exposed in the data breach.


                                                22
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          57.   As an initial matter, in my training and experience, hackers commonly search

themselves in databases to identify any vulnerabilities they might have and determine if any of

their personal information may be accessible online.

          58.   Further, records received from Google indicate that, in the months preceding

pompompurin’s correspondence with omnipotent, FITZPATRICK appears to have registered a

Google account with the email address                                        to replace the older

email address                                   that pompompurin had identified. For instance,

according to records from Google, the                                        Google account was

registered on or about May 26, 2019, and the Google account associated with

                               was then closed on or about April 8, 2020. In addition, the Google

Pay accounts linked to the                                    and

accounts were both registered under the name “Conor Fitzpatrick,” and listed the UNION

PREMISES and the                  Telephone Number as contact information. As described above,

the                   Telephone Number was linked to nine IP addresses that accessed

pompompurin’s account on RaidForums.             The Google Pay account associated with

                                  also listed a Visa credit card ending in       with an expiration

date of

          59.   The FBI also searched the email addresses                                      and

                                on the website https://haveibeenpwned.com/ to determine if they

were included in the breached ai.type database. As pompompurin appeared to indicate, the results

of the queries indicated that the “old”                                  email address was in the

database. The newer                                     email address was not.




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         60.      Additional records received from Google further tie the user of the

                                          to FITZPATRICK and the moniker pompompurin.                            For

instance,      the    recovery      email      address        for                                               was

                               Subscriber records for this account reveal that the account was registered

under the name “a a,” 6 and created on or about December 28, 2018 from the IP address



         61.




         62.      Records received from Google concerning                                                       also

showed logins from numerous virtual private network (VPN) provider companies from at least on

or about September 20, 2021 through on or about May 12, 2022, including M247 Ltd, Datacamp

Limited, Tzulo, Performive, Blix Solutions, Sharktech, Hosting Services Inc, QuadraNet, IVPN,

and Mullvad. Based on the timing and variety of VPNs, as well as my training and experience, I



6
 In my training and experience, it is common for cybercriminals to obscure their identities by registering accounts
under false names, such as “a a.”
7
  Google returns describe the IP address as the “Terms of Service” IP address. In my training and experience, that
refers to the IP address used to create the account.
8
 I have not included the first name in order to comply with the Local Rules requirement, which mandates that
parties should not use the names of uncharged individuals in public documents.

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believe the user of the                                              Google account used multiple different

VPNs to obscure his or her location and true IP address.

           63.      Records obtained by the FBI reveal overlaps between the IP addresses and VPN

services used to access the                                              Google account and certain online

accounts with the “pompompurin” moniker.

           64.      For instance, on or about March 7, 2022, records received from Google showed that

the                                                 Google account was accessed from IP address

89.187.181.117 on or about March 7, 2022. IP address 89.187.181.117 was owned by Datacamp

Limited. However, a query of this IP address on Spur.us, in turn, revealed that this IP address was

actually used by the VPN provider IVPN at the time. According to records from Zoom, this IP

address was used the following day, on or about March 8, 2022, to log into a Zoom account under

the name of “pompompurin” with an e-mail address of                                                         The

                                 email address is notable because, at the time of the Zoom account’s

creation, it served as pompompurin’s registration email address on RaidForums, per records

obtained by the FBI in that investigation.

           65.      Further, according to the RaidForums SQL database of forum activity, IP addresses

192.252.212.39 and 89.45.224.27 were also both used to log into the “pompompurin” account on

RaidForums. Indeed, of the 31 unique IP addresses logged as having been used to access the

                                           from on or about September 20, 2021 through on or about May

12, 2022, 12 of them were also used to log into pompompurin’s RaidForums account.

           66.      Records received from Purse.io, a cryptocurrency exchange used to purchase

products         online,   reveal   that     four    of   the   IP    addresses 9    used    to   access        the



9
    The IP addresses were 212.103.48.197, 2a0d:5600:24:a80::a77e, 37.19.206.108, and 2607:9000:4000:17::b85e.

                                                          25
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                                           Google account and pompompurin’s RaidForums account were

also used to log into a Purse.io cryptocurrency account that was registered to “Conor Fitzpatrick”

with the email address                                                   from on or about March 14, 2022,

through on or about April 27, 2022 (the “Conor Fitzpatrick Purse.io account”). These IP addresses

were owned by the providers M247 Ltd, Datacamp Limited, and Tzulo at the time. However, a

lookup on Spur.us shows that the 212.103.48.197 IP address (M247 Ltd) and 37.19.206.108 IP

address (Datacamp Limited) were both utilized by VPN provider IVPN.

           67.      In my training and experience, the repeated use of common virtual private servers

and VPN providers, including four of the same IP addresses, suggests that these accounts were

likely controlled by a common person.

           68.      Records received from Purse.io also show that the Conor Fitzpatrick Purse.io

account purchased several items in or around 2022 that were delivered to the UNION PREMISES

with the                     Telephone Number. 10 Further, the Conor Fitzpatrick Purse.io account also

reveals additional ties between that account holder and the user of the pompompurin account on

RaidForums. For instance, in total, seven of the nine unique IP addresses that logged into the

Conor Fitzpatrick Purse.io account also logged into pompompurin’s account on RaidForums. In

addition, the Conor Fitzpatrick Purse.io account was funded exclusively by a Bitcoin address that

pompompurin had discussed in posts on RaidForums.

           69.      Also, records obtained from the SQL database of forum activity on BreachForums

revealed that the pompompurin account on BreachForums was accessed from IP address

                      on or about June 27, 2022.




10
     The account also caused purchases that were delivered to an address in Manassas, Virginia.

                                                          26
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           70.      In my training and experience, I know that cyber criminals use a variety of methods

to obscure their IP addresses, such as utilizing VPN services or The Onion Router (Tor). 11

However, these services are occasionally misconfigured and expose the user’s true IP address.

Accordingly, while the FBI’s examination of the BreachForums database reveals that the

pompompurin account was typically accessed through VPN services or Tor, I believe it is notable

that IP address                        was once used to login to the pompompurin account on or about

June 27, 2022.

           71.      Further, records received from Apple Inc. concerning an iCloud account associated

with FITZPATRICK reveals that the account was accessed approximately 97 times from IP

address                       between on or about May 19, 2022 and on or about June 2, 2022, from an

iPhone mobile device.

           72.      The FBI’s examination of the pompompurin account’s posting activity on

RaidForums and BreachForums further suggests that they’ve been controlled by a common user.

For instance, in a post titled “Welcome & FAQ Thread” on BreachForums on or about March 16,

2022, pompompurin posted, “I’ve created this forum as an alternative to RaidForums since it was

seized…If you used RaidForums you most likely remember me, I was one of the more active users

on there.”



11
     In my training and experience, Tor is a free and open-source software for enabling anonymous communication.

                                                         27
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        73.      Further, the pompompurin account on BreachForums has alluded to past activity

by the pompompurin account on RaidForums. For example, on or about July 4, 2022, the

pompompurin account on BreachForums created a post titled “Capital Economics Database –

Leaked, Download!” The post included the following description:

        In December 2020, the economic research company Capital Economics suffered a
        data breach that exposed 263k customer records. The exposed data included email
        and physical addresses, names, phone numbers, job titles and the employer of
        impacted customers. Funny story about this, when I originally posted this on
        RaidForums in 2020[,] some Russian stole it and tried to sell it on exploit.in.”

(Emphasis added).

        74.      The post is notable because, on or about January 4, 2021, pompompurin created a

post on RaidForums titled “[capitaleconomics.com] 263,630 Users.” The post stated, in relevant

part, “Website: https://www.capitaleconomics.com..Dumped by me on 12/12/2020…,” and

included a link to download the compromised data.

        75.      On or about October 26, 2022, an FBI OCE observed the user profile of the

pompompurin account at a time it was logged into BreachForums. 12 At the same time, an FBI

agent reviewed records reflecting the physical location of the telephone associated with

FITZPATRICK’s                          Telephone Number, which was obtained from

pursuant to a cell phone GPS warrant obtained in a parallel investigation out of the Northern

District of California. These results, accurate to within approximately 1 kilometer, indicate that

while accessing BreachForums, FITZPATRICK was likely physically located around the area of

the UNION PREMISES.




12
  Based on the investigation, I understand that BreachForums profiles indicate whether a user is currently logged
into the website.

                                                        28
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       76.      Further, while performing physical surveillance of the UNION PREMISES on or

about February 6, 2023, FBI and HHS-OIG agents observed that the pompompurin account was

active on BreachForums while FITZPATRICK was inside the UNION PREMISES.

       77.      In view of the above, I believe that FITZPATRICK has used the same VPNs and

IP addresses to log into the e-mail account                                         the Conor

Fitzpatrick Purse.io account, the pompompurin account on RaidForums, and the pompompurin

account on BreachForums, among other accounts. There is also probable cause to believe that

FITZPATRICK is the same individual who does and has used the moniker pompompurin on

RaidForums and BreachForums to perform the above-described acts.

             Court Authorized Search of Fitzpatrick’s Residence on March 15, 2023

       78.      On March 15, 2023, law enforcement executed a court-authorized search of the

residence that FITZPATRICK shares with his family. After advising FITZPATRICK of his

constitutional rights, FITZPATRICK waived his rights and agreed to speak with law enforcement.

During the subsequent interview, FITZPATRICK admitted that he is the user of the pompompurin

account. He also admitted that he owns and administers BreachForums and previously operated

the pompompurin account on RaidForums. He stated that after RaidForums was seized by law

enforcement, he was approached by individuals who thought he would be competent enough to

run a similar site. FITZPATRICK stated that he agreed to do so.

       79.      FITZPATRICK admitted that he is aware that BreachForums is a site where people

can and do solicit the purchase and sale of compromised data. He also stated that he operates a

middleman service and he estimated that he conducts 2-3 such transactions a day. He further

admitted that these transactions involve the purchase and sale of compromised data.

FITZPATRICK stated that he does not charge for the middleman service, but he does charge for



                                              29
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credits and membership upgrades on BreachForums. He estimated that he earned approximately

$1,000 a day from BreachForums, and that he uses this money to administer BreachForums and

purchase other domains.




                                           30
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